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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

      TAVARES DOCHER, by and through                                         CASE NO.: 2:16cv14413
      JANICE DOCHER-NEELEY, his mother
      and legal guardian,

                      Plaintiffs,
      vs.

      CHRISTOPHER NEWMAN, individually,
      et al.

                  Defendants.
      ________________________________________/

              REPLY MEMORANDUM IN SUPPORT OF DEFENDANT NEWMAN’S
                      MOTION FOR SUMMARY JUDGMENT [DE 85]

               The Defendant NEWMAN, in his individual capacity, files this his Reply Memorandum

      in support of his Motion for Summary Judgment [DE 85], and would state as follows:

                              Deputy Newman’s actions should be judged
                            separately in analyzing whether he acted lawfully

               Because multiple deputies are alleged to have violated the Plaintiff’s rights in

      multiple ways, it is appropriate for this Court to analyze each deputies’ actions individually.

      “Each defendant’s liability must be assessed individually based on his own actions. Binay v.

      Bettendorf, 601 F.3d 640, 650 (6th Cir. 2010). “A reviewing court analyzes the subject event

      in segments when assessing the reasonableness of a police officer’s actions.” Morrison v. Bd.

      of Trustees of Green Twp., 583 F.3d 394, 401 (6th Cir. 2009).

            Based on the undisputed facts, there was, at a minimum, reasonable suspicion to
                        handcuff the Plaintiff and escort him to the patrol car.


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             It is now undisputed that upon arriving at the CVS, the defendant deputies

      encountered the Plaintiff who 1) was carrying a screwdriver with a closed fist to protect

      himself from the “Arabs,” 2) declared that Seal Team 6 out of Broward County had cut off

      someone’s head and were now trying to get him, 3) alleged that he was being followed by

      black vans and helicopters, 4) admitted had been drinking and 5) acknowledged that he was a

      registered sex offender. (DE 88, ¶¶ 9, 10, 12, 16, 18; see also DE 131 as to those ¶s).

             Plaintiff asserts that because the crime of disorderly conduct is a misdemeanor, in

      order for the detention to have been lawful, the misdemeanor must have been committed in

      the officer’s presence. First, as the Plaintiff correctly concedes, the in presence rule has no

      affect on Plaintiff’s federal false arrest claim. See Knight v. Jacobson, 300 F.3d 1272, 1275-

      76 (11th Cir. 2002). Regardless, the in presence rule does not disturb Defendant Newman’s

      entitlement to summary judgment on Plaintiff’s false arrest claims, whether state or federal,

      since the undisputed facts as noted above all occurred in the deputies’ presence. These facts,

      at a minimum, provided the reasonable suspicion required to justify Plaintiff’s detention.

             As predicted in Defendant Newman’s motion, Plaintiff has attempted to create a

      material dispute regarding the legality of Plaintiff’s detention by referring to Defendant

      Newman’s testimony that he did not believe the Plaintiff was a direct threat to the public,

      which is an element of the offense of disorderly intoxication. However, “neither Florida nor

      federal law requires that a police officer actually have a subjective belief in the guilt of the

      person arrested.” Rankin v. Evans, 133 F.3d 1425, 1433 (11th Cir. 1998). Instead, the proper

      analysis rests on what the totality of circumstances means to a reasonable police officer in the

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      field. Id; see also State v. Melendez, 392 So.2d 587, 588-89 (Fla. 4th DCA 1981).

              As noted above, the deputies confronted a person who admitted he had been drinking,

      informed the deputies he was a convicted felon, was holding a screwdriver to protect himself

      from “Arabs” and Seal Team 6 (who the Plaintiff claimed had cut off someone’s head), and

      was saying that he was being followed by black helicopters and vans. While the Plaintiff

      suggests that it is not illegal to carry a screwdriver, separating that fact from Plaintiff’s other

      observed behavior is not the proper analysis required here. When evaluating the totality of the

      circumstances, which is required when analyzing the propriety of Plaintiff’s detention, the

      fact that the Plaintiff was holding a screwdriver and had declared his intention to defend

      himself from threats the Plaintiff presumably created in his mind, the legality of Plaintiff’s

      detention becomes obvious. Based on the totality of the circumstances from the perspective

      of a reasonable officer, there was a danger that the Plaintiff, who unquestionably wasn’t

      thinking clearly, might confuse a CVS patron for an “Arab” and then defend himself with a

      screwdriver. Under these circumstances, only reasonable suspicion was required to justify

      handcuffing the Plaintiff and placing him in the back of Deputy Newman’s patrol car.

      Studemire v. State, 955 So.2d 1256, 1257-58 (Fla. 4th DCA 2007) (holding that criminal

      defendant’s handcuffing and placing in back of patrol car was a lawful temporary detention

      which required only reasonable suspicion since there was an objectively reasonable necessity

      to protect the officers’ safety or to thwart a suspect’s attempt to flee).

              As the Plaintiff correctly points out, the elements of disorderly intoxication are (1)

      defendant is intoxicated and (2) endangering the safety of a person. Royster v. Florida, 643

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      2d 61, 64 (Fla. 1st DCA 1994). Plaintiff’s admission that he had been drinking combined with

      his erratic behavior certainly provided, at the very least, a “minimum level of objective

      justification” to handcuff the Plaintiff and escort him to the back of the patrol car. See Illinois

      v. Wardlow, 120 S.Ct. 673,675-76 (2000).

        Plaintiff’s actions of elbowing Deputy Newman in the face while fleeing the back of
              Deputy Newman’s Patrol Car established probable cause for his arrest

             It is now undisputed that after the Plaintiff was escorted to Deputy Newman’s patrol

      car without incident, the Plaintiff ran from the patrol car while handcuffed towards Prima

      Vista Boulevard. (DE 88, ¶21; see also DE 131 as to that ¶). Plaintiff does not specifically

      dispute that he elbowed Defendant Newman as he pushed his way out of Newman’s patrol

      car but instead suggests a material dispute in the facts because Deputy Robinson described

      the event differently. However, the fact that Deputies Newman and Robinson, who were

      actively engaged in the struggle with the Plaintiff, do not have identical recollections of the

      event does not create a material dispute. See Kesinger v. Herrington, 381 F.3d 1243, 1249-50

      (11th Cir. 2004) (finding summary judgment was appropriate despite conflicting testimony of

      a fatal shooting because an eyewitness’s version did not differ from the officer’s in any

      material way). Thus there is no material dispute regarding the fact that the Plaintiff offered

      physical resistance while fleeing the back of Deputy Newman’s patrol car.

             The now undisputed material facts demonstrate that probable cause existed for the

      crimes of resisting an officer with violence in violation of F.S.§843.01 (2014) and battery on

      a law enforcement officer in violation of F.S.§784.07 (2014). Plaintiff’s suggestion that the


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      Plaintiff was privileged to resist arrest without violence since the initial detention was

      unlawful is factually and legally incorrect. First, as argued above, Plaintiff’s detention for

      disorderly intoxication was lawful. Studemire, 955 So.2d at 1257-58. Second, even assuming

      arguendo that the Plaintiff’s initial detention was unlawful (which it wasn’t), “engaging in a

      scuffle with an officer-even during an improper police detention-can give rise to a valid

      arrest...for the offense of resisting arrest with violence.” Robbins v. City of Miami Beach,

      769 F. Supp. 2d 1372, 1375 (S.D. Fla. 2011) citing Reed v. State, 606 So.2d 1246 (Fla. 5th

      DCA 1992) and Savage v. State, 494 So. 2d 274 (Fla. 2nd DCA 1986).

      Deputy Newman’s use of force was a reasonable response to Plaintiff’s active resistance
                         including biting Deputy Newman’s fingers.

             It is now undisputed that after being taken to the ground, the Plaintiff attempted to

      bite Defendant Mangrum’s finger. (DE 131, ¶ 67). Plaintiff has also tried to create a material

      dispute regarding whether the Plaintiff actually bit Defendant Newman’s finger based on the

      testimony of Merine Kanhai who testified that she did not see the Plaintiff bite Deputy

      Newman (from a distance of 20-25 feet away). (DE 135-2, 11:15-21). As argued above, the

      fact that Kanhai did not see the Plaintiff bite Deputy Newman is insufficient to create a

      material dispute regarding that fact. See Kesinger, 381 F.3d at 1249-50. In a further attempt

      to create a material dispute regarding the fact that the Plaintiff bit Deputy Newman on the

      finger, Plaintiff cites to the fact that Defendant Newman did not seek medical treatment. This

      assertion is immaterial to the question of whether the Defendant Newman used reasonable

      force unless the Plaintiff is advocating for a rule that unless a law enforcement officer suffers



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      an observable injury, any use of force by that officer is unlawful. Such is not the law.

             Since it is undisputed that the Plaintiff attempted to bite Deputy Mangrum and there is

      no material dispute regarding the fact that the Plaintiff actually bit Defendant Newman,

      Defendant Newman’s two elbow strikes to combat Plaintiff’s actions in that regard were

      reasonable. See Benton v. Hopkins, 190 Fed. Appx. 856, 860 (11th Cir. 2006) (concluding

      that multiple baton strikes to the legs and neck of an unarmed resisting arrestee were not

      unreasonable).

             Plaintiff advances two main theories in an attempt to defeat Defendant Newman’s

      motion on the excessive force counts. Plaintiff’s first theory is that since the Plaintiff’s

      detention was unlawful, any force used by the deputies against the Plaintiff was excessive

      thus the Plaintiff’s actions in biting and kicking the deputies in self-defense was permitted.

      Plaintiff cites to Dyer v. Lee, 488 F.3d 876, 870, 884 (11th Cir. 2007) with the parenthetical

      reference “explaining that persons are entitled to act in self-defense since any other result

      would allow the use of excessive force by a police officer free of fear of consequence under §

      1983.” (DE 129, p. 17). The issue in Dyer was whether the Supreme Court’s ruling in Heck

      v. Humphrey, 512 U.S. 477 (1994) barred a Plaintiff convicted of resisting arrest with

      violence from bringing a § 1983 lawsuit alleging excessive force from the same incident

      where the Plaintiff was arrested. The Eleventh Circuit’s ruling in Dyer did not recognize a

      right to self defense in response to the use of excessive force, as the Plaintiff implies. Rather

      the Court held that not all successful § 1983 claims against an officer for using excessive

      force will necessarily negate the underlying charge of resisting arrest with violence. Id. at 879


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      (holding for Heck to apply, it must be the case that a successful § 1983 suit and the

      underlying conviction be logically contradictory.) There is no claim here that Plaintiff’s

      excessive force claims are barred by Heck. Further, as argued above, Defendant’s detention

      was supported by reasonable suspicion which then evolved into probable cause.

             Plaintiff cites to Pourmoghani-Esfahani v. Gee, 625 F.3d 1313 (11th Cir. 2010) in

      support of his contention that the force used by Defendant Newman was excessive. Plaintiff

      claims the facts in Gee are remarkably similar to this case with no meaningful differences.

      Defendant Newman disagrees. One meaningful difference is that the actions of the Defendant

      in Gee were very much disputed: the Plaintiff alleged that the Defendant slammed her head

      on the floor seven to eight times after the Plaintiff was restrained which the Defendant

      denied. Gee at 1316. There is no material dispute here as to the force used by Defendant

      Newman in response to Plaintiff’s resistance. Plaintiff also notes that the video in Gee did not

      establish whether a pool of blood was present whereas in this case there is no dispute that the

      Plaintiff was bleeding from his face with the obvious implication that the justification for the

      denial of qualified immunity is stronger here. However, Plaintiff’s injuries, no matter how

      minor or severe, do not convert an otherwise reasonable use of force into excessive force. See

      Rodriguez v. Farrell, 280 F.3d 1341, 1351 (11th Cir. 2002); Silverman v. Ballantine, 694 F.2d

      1091, 1096-97 (2nd Cir. 1982) (force used was not, as a matter of law, excessive even though

      arrestee died of heart attack during arrest). Finally, Plaintiff points to the testimony of the

      independent witnesses. To the extent the independent witnesses flatly state that it did not look

      to them like the Plaintiff was resisting, Defendant Newman respectfully submits that the cell


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       phone recording speaks for itself on that front. Gee, 625 F.3d at 1315. Further, the fact that a

       civilian witness did not perceive the Plaintiff as resisting does not overcome the fact that

       there is no material dispute that the Plaintiff fled the back of the patrol car while handcuffed

       and elbowed Defendant Newman in the eye, was able to slip his handcuffs underneath him

       during the struggle to control him, and attempted to bite the deputies.1

               Plaintiff’s second theory seems to be that even if some force was justified based on

       Plaintiff’s resistance, the elbow strikes utilized by Defendant Newman were an excessive use

       of deadly force. Plaintiff cites to and relies on the testimony of his retained expert, Mel

       Tucker, to support this contention. Plaintiff’s expert’s opinion aside, in order to divest

       Deputy Mangrum of the protections of qualified immunity, the legal issue is whether the case

       law was sufficiently clear that at the time Deputy Mangrum delivered the elbow strike that

       the elbow strike amounted to deadly force. That is not the state of the law now and it

       certainly was not the state of the law on May 11, 2014. In Baltimore v. City of Albany, Ga.,

       183 Fed.Appx.891, 898 (11th Cir. 2006), the Eleventh Circuit held that “striking a suspect in

       the head with a heavy flashlight or other blunt instrument at least poses a substantial risk of

       serious bodily injury, if not death” therefore constituting deadly force. Thus at the time of the

       incident, it was clearly established that striking a subject in the head with a blunt instrument

       constituted deadly force for purposes of qualified immunity. It is undisputed that only empty


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            There is no record evidence that any of the civilian onlookers witnessed the Plaintiff
   alighting from the patrol car or going to the ground. Further, as evidenced by the testimony of Merine
   Kanhai, it is not surprising that civilians do not to fully understand what is meant by “resisting.” (See
   DE 135-2, 24:9-20).


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      hand techniques were utilized by the deputies in dealing with Docher. In other words, the

      deputies did not utilize a baton, flashlight, taser or any other blunt instrument while

      attempting to gain compliance from the Plaintiff. Despite the Plaintiff’s suggestion that an

      elbow strike to the head constitutes deadly force, it certainly cannot be said that the law was

      clearly established to that effect on May 11, 2014. See Hoolihan v. Clayton County, Georgia,

      2012 WL 12888679, at *6 (N.D. Ga. 2012), aff’d sub nom., Hoolihan v. Clayton County,

      Ga., 507 Fed. Appx. 831 (11th Cir. 2013) (unpublished) (“Thus even if an elbow strike to the

      head is considered deadly force, [the law enforcement defendant] had no notice, by way of

      clearly established law, that the use of such force was unlawful under the circumstances”).

             Plaintiff’s expert also suggests that Defendant Newman and the other deputies failed

      to treat this as a medical emergency rather than an arrest and control situation. The natural

      corollary of Plaintiff’s expert’s theory is that since the deputies should have treated their

      interaction with the Plaintiff as a medical emergency rather than an arrest and control

      situation, any force used by the deputies was unreasonable. As discussed above, prior to any

      force being used against the Plaintiff, the Plaintiff had committed multiple crimes of varying

      degrees of seriousness. Contrary to the Plaintiff’s expert’s opinion, this court should “credit

      the government with a significant interest in enforcing the law on its own terms, rather than

      on terms set by the arrestee.” Buckley v. Haddock, 292 Fed. Appx. 791, 794 (11th Cir. 2008).

             Finally, Plaintiff’s expert contends that the Defendant Newman violated commonly

      accepted training practices which teach that elbow strikes are considered deadly force. The

      Supreme Court recently addressed this issue in City and County of San Francisco v. Sheehan,


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      135 S.Ct. 1765 (2015), where the Plaintiff in that case supported her Fourth Amendment

      claim with expert testimony that the defendant law enforcement officers “fell short of their

      training by not using practices designed to minimize the risk of violence when dealing with

      the mentally ill.” Id. at 1777. After scrutinizing the case law, the Supreme Court held that

      “the officers’ failure to accommodate [the plaintiff’s] illness [did not] violat[e] clearly

      established law.” Id. at 1775. The Supreme Court further held that neither allegations that an

      officer deviated from accepted training standards nor suggestions from a Plaintiff’s expert

      that an action should have been handled differently are substitutes for appropriate judicial

      precedent in the “clearly established” analysis. Id. at 1777.

             The most telling portion of Plaintiff’s expert’s theory is where he declares that if

      deadly force was justified, “they should’ve just jumped back and drew their weapons and

      shot and killed him.” This type of mechanical application to the analysis in use of force

      claims has been soundly rejected. See Bell v. Wolfish, 441 U.S. 520, 559 (1979) (“The test

      for reasonableness under the Fourth Amendment is not capable of precise definition or

      mechanical application.”). Rather, “[t]he sole inquiry is whether the officer's actions, as

      taken, were objectively reasonable under all the circumstances. See Garczynski v. Bradshaw,

      573 F.3d 1158, 1167 (11th Cir. 2009). Defendant Newman’s actions in a tense and rapidly

      evolving situation were reasonable.

             For the reasons set forth above and in his Motion for Summary Judgment, Defendant

      Newman respectfully requests summary judgment be granted in his favor on Counts I, II, VI,

      XIV and XVI.


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                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
      Court using the CM/ECF and furnished via email a copy to: ADAM S. HECHT, ESQUIRE,
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